                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


SANDRA RIEDERER,

                       Plaintiff,

       v.                                                     Case No.        15-C-1292

UNITED HEALTHCARE SERVICES, INC.,

                       Defendant.


                         ORDER DENYING MOTION TO DISMISS


       Plaintiff Sandra Reiderer brought this action on behalf of herself and other similarly situated

against her former employer, United Healthcare Services, Inc. Reiderer alleges that she and other

United Healthcare employees were denied overtime wages under its illegal pay policy in violation

of the Fair Labor Standards Act of 1938 (FLSA) and Wisconsin Wage and Hour Loss. The action

was filed on October 30, 2015.

       On December 8, 2015, United Healthcare filed a motion to dismiss and compel individual

arbitration of plaintiff’s claims. The motion was based on an agreement between United Healthcare

and its employees that required claims for unpaid overtime under the FLSA and the Wisconsin wage

and hour laws to be resolved through arbitration on an individual basis. On December 17, 2015,

Plaintiff filed a motion to stay the proceedings pending the Seventh Circuit’s anticipated decision

in Lewis v Epic Sys. Corp., 2016 WL 3029464 (7th Cir. May 26, 2016); 15-CV-82-BBC (W.D. Wis.

2015) Appeal docketed, No. 15-2997 (7th Cir. 2015). Plaintiff pointed out that the issue of whether

such an agreement was enforceable was before the court in Lewis and that the decision in that case




    Case 1:15-cv-01292-WCG Filed 07/13/16 Page 1 of 2 Document 20
would resolve the issue raised by United Healthcare’s motion here. United Healthcare agreed, and

Plaintiff’s motion was granted.

         On May 26, 2016, the Seventh Circuit issued its decision in Lewis, holding that an

agreement mandating individual arbitration of FLSA claims brought by groups of employees

violated the National Labor Relations Act (NLRA), 29 U.S.C. § 151 et seq. and is also

unenforceable under the Federal Arbitration Act (FAA), 9 U.S.C. § 1 et seq. Since the arbitration

provision of the agreement in that case is essentially the same as the one United Healthcare seeks

to enforce, Lewis is controlling here. I therefore conclude that United Healthcare’s motion to

dismiss must be and the same hereby is denied. The Clerk is directed to set this matter for a

telephone scheduling or status conference to be held not less than twenty days from the date of this

order.

         SO ORDERED this 13th day of July, 2016.

                                             s/ William C. Griesbach
                                             William C. Griesbach, Chief Judge
                                             United States District Court




                                                 2



    Case 1:15-cv-01292-WCG Filed 07/13/16 Page 2 of 2 Document 20
